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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

IAN KEARNS,
Plaintiff

Case No.
Vv.

UNITED STATES OF AMERICA
Serve: Attorney General
U.S. Dept. of Justice
950 Pennsylvania Avenue
Washington, D.C. 20530-0001

Serve: Acting U.S, Attorney Dist. of Kansas,
Duston J. Slinkard
500 State Avenue, Suite 360
Kansas City, KS 66101

and

FEDERAL BUREAU OF INVESTIGATION,
Serve: Director, FBI
935 Pennsylvania Ave. NW
Washington, DC 20535

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and

FEDERAL BUREAU OF ALCOHOL,
' TOBACCO, FIREARMS AND EXPLOSIVES,
Serve: Associate Chief Counsel

Office of Chief Counsel

99 New York Avenue NE

Washington, D.C. 20226

and
JOHN DOE,

Defendants.

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PETITION FOR DECLARATORY JUDGMENT AND OTHER RELIEF
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COME NOW, Plaintiff, by and through counsel, and, pursuant to Fed. R. Civ. Pro. 57, 28
U.S.C. § 2201, and 18 U.S.C. § 925A, hereby submits this Petition for Declaratory Judgment and
Other Relief. In support thereof, Plaintiff states as follows.

1. Plaintiff Ian Kearns is a natural person; at all times pertinent hereto he was and is
a bona fide resident of the State of Kansas.

2. Defendant Federal Bureau of Investigation (hereinafter, “FBI’’) is a United States
agency, whose responsibilities include managing the National Instant Criminal Background
Check System (hereinafter, “NICS”), pursuant to 28 C.F.R. § 25.3. The system manager and
address for the same are: Director, Federal Bureau of Investigation, J. Edgar Hoover F.B.I.
Building, 935 Pennsylvania Avenue, NW, Washington, D.C. 20535. Id.

3. Defendant Federal Bureau of Alcohol, Tobacco, Firearms and Explosives
(hereinafter “ATF”’) is a United States agency, whose responsibilities include the regulation of
sales of firearms in interstate commerce by Federal Firearms Licensees (hereinafter, “FFL”),
pursuant to 27 C.F.R. § 448.

4, Upon information and belief, John Doe is a natural person, an employee or other
agent of Defendant FBI, and who wrongfully denied the transfer of a firearm from an FFL to
Plaintiff based upon information in the NICS system.

5. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 because of a
question of federal law, to-wit, the interpretation and application of 18 U.S.C. § 922.
Furthermore, Plaintiff has a private cause of action of federal jurisdiction pursuant to 18 U.S.C. §

925A.
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6. On September 10, 2013, Plaintiff was convicted in the District Court of Johnson
County, Kansas of the crime of Possession (of marijuana) with Intent to Distribute (K.S.A. 21-

36a05, now K.S.A. 21-5705), a felony.

7. Plaintiff's sentence for the conviction was completed by November 4, 2014, the
day his probation ended.
8. Plaintiff had the conviction expunged pursuant to Kansas law in the District Court

of Johnson County by order entered May 27, 2020.

9. In June 2020, Plaintiff attempted to purchase a firearm from an FFL. Pursuant to
said attempted purchase, Plaintiff submitted information on ATF Form 4473, by which
Defendants determined Plaintiff's eligibility to purchase said firearm.

10. Defendants denied said purchase.!

11. — Plaintiff perfected an administrative appeal of Defendants’ denial of his firearm
purchase in July 2020. Plaintiff submitted his “Voluntary Appeal File,” or “VAF” through
electronic means and submitted his fingerprint card as Defendants requested.

12. On September 27, 2021, the Defendant FBI’s Criminal Justice Information
Services (CJIC) Division’s National Instant Criminal Background Check System (NICS) Section
finally processed Plaintiffs VAF application and notified Plaintiff of the denial of the same.

13. Defendants rejected Plaintiffs VAF application and denied him the transfer on the
following grounds:

“Per K.S.A § 21-4204(a)(2) (K.S.A § 21-6304(a)(1) after 7/2011) any subject

adjudicated guilty of a person felony, or a violation of any provision of the

uniform controlled substances act under article 57 of chapter 21, or any violation
of any provision of the uniform controlled substances act prior to July 1, 2009, or

 

1 Plaintiff attempted purchases on August 31, 2021 and October 6, 2021 and was likewise denied.
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a crime under a law of another jurisdiction which is substantially the same as such
felony, has been released from imprisonment or completion of sentence for a
felony and was not found to have been in possession of a firearm at the time of
the commission of the crime; are state prohibited from purchasing firearms until
ten years have elapsed from the completion of their sentence. Your felony
conviction occurring on March 20, 2013 [sic] for K.S.A. §21-36a05, falls under
this provision, therefore you are ineligible to purchase a firearm in the state of
Kansas at this time.”

14. Under Kansas law, one’s right to possess firearms lost pursuant to K.S.A. Chapter
21, Article 57 convictions (drug crimes) are restored by operation of law after the passage of
eight (8) years after conviction, pursuant to K.S.A. 21-6304(a)(3).

15. The Kansas general expungement statute, K.S.A. 21-6614, states, in pertinent
part:

A person whose arrest record, conviction or diversion of a crime that resulted in

such person being prohibited by state or federal law from possessing a firearm has

been expunged under this statute shall be deemed to have had such person’s right

to keep and bear arms fully restored. This restoration of rights shall include, but

not be limited to, the right to use, transport, receive, purchase, transfer and

possess firearms. The provisions of this paragraph shall apply to all orders of
expungement, including any orders issued prior to July 1, 2021.

K.S.A. 21-6614(k)(2).

16. 18 U.S.C 921(a)(20) states: “[a]ny conviction which has been expunged, or set
aside or for which a person has been pardoned or has had civil rights restored shall not be
considered a conviction for purposes of this chapter, unless such pardon, expungement, or
restoration of civil rights expressly provides that the person may not ship, transport, possess, or
receive firearms.”

17. For the purpose of 18 U.S.C 921(a)(20), a person’s civil rights have been restored
when, pursuant to state law, they have had restored to them: (1) the right to vote; (2) the right to
seek and hold public office; (3) the right to serve on a jury; and their right to possess firearms.

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U.S. v. Maines, 20 F.3d 1102, 1104 (10 Cir. 1994); see also U.S. v. Reese, 559 Fed. Appx. 777
(2014).

18. Under Kansas law, the (1) right to vote, the (2) right to hold public office, and the
(3) right to serve on a jury are lost pursuant to a felony conviction, but are restored once the
convicted felon completes his sentence. K.S.A. 21-6613.

19. Plaintiff completed the sentence for his felony conviction no later than November
4, 2014, the day his probation ended.

20. Plaintiffs right to vote, his right to hold public office, and his right to serve on a
jury were restored to him under Kansas law when the sentence for his felony conviction was
completed.

21. Plaintiffs right to possess firearms was restored to him when his felony
conviction was expunged in the District Court of Johnson County by order entered May 27,
2020.

22. Plaintiff “has had [his] civil rights restored” for the purpose of 18 U.S.C,
921(a)(20).

23. This Court may resolve the aforementioned issues that have arisen between the
parties and, further, may avoid future similar disputes altogether.

24. — Plaintiffis entitled to an award of attorneys fees pursuant to 18 U.S.C.A. §
925A(2). |

WHEREFORE, Plaintiff lan Kearns prays this Court enter declaratory judgment in
Plaintiff's favor, that is, declaring that Plaintiff has the legal right to purchase and possess

firearms pursuant to State and federal law; for an order directing Defendants to correct their
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records to reflect the same; for an order for Defendants to cease denying transfers of firearms
purchased by Plaintiff from FFLs; for an award of reasonable attorneys fees, for the costs herein
incurred, and for any further relief which this Court deems just and equitable under the

circumstances.

/s/Richard W. Martin, Jr.

 

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Attorney for Plaintiff
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VERIFICATION
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TAN KEARNS

IAN KEARNS, of lawful age and first duly sworn upon his/her oath states: that s/he is
familiar with the contents of the foregoing and that the statements, allegations and other matters
contained in it are true and correct.

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Sworn to before me, a Notary Public, on thismicy, “day of. foVs on cles 55 208-3).

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